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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                                  Chapter 11

                                                        Bankruptcy Case
BOY SCOUTS OF AMERICA AND                               No. 20-10343-LSS
DELAWARE BSA, LLC,
                                                        (Jointly Administered)
                      Debtors.



NATIONAL UNION FIRE INSURANCE CO.                       Case No. 22-cv-01237-RGA
OF PITTSBURGH, PA, et al.,

                      Appellants,

               v.

BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC,

                      Appellees.


                      NOTICE OF APPEAL TO THE UNITED STATES
                     COURT OF APPEALS FOR THE THIRD CIRCUIT

         NOTICE IS HEREBY GIVEN that Appellant Arch Insurance Company appeals to the

 United States Court of Appeals for the Third Circuit from the final Order and accompanying

 Opinion of the United States District Court for the District of Delaware (Hon. Richard G.

 Andrews), entered     March 28, 2023 (D.I. 150, 151), among other things affirming the

 Supplemental Findings of Fact and Conclusions of Law and Order Confirming the Third Modified

 Fifth Amended Chapter 11 Plan of Reorganization (with Technical Modifications) for Boy Scouts

 of America and Delaware BSA, LLC (Bankruptcy D.I. 10316) and accompanying Opinion

 (Bankruptcy D.I. 10136) of the United States Bankruptcy Court for the District of Delaware (Hon.

 Laurie S. Silverstein), and all other orders, decisions, and opinions subsumed therein.
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        The parties to the order appealed from and the names, addresses, and telephone numbers

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